       Case 1:23-cv-09304-DEH          Document 286         Filed 10/21/24      Page 1 of 3




                                                             October 21, 2024

VIA ECF
The Honorable Dale E. Ho
U.S. District Judge
U.S. District Court for the Southern District of New York
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

       Re: United States v. M/Y Amadea, No. 23-cv-9304 (DEH)

Dear Judge Ho:

       This firm represents Claimants in the above-referenced matter. We write to provide the
Court with a status update as to discovery that has taken place since the Court’s September 15,
2024, Order extending discovery until November 15 (Dkt. 255), and to respectfully request a
discovery extension until January 24, 2025, so that the parties can complete discovery in this
case.

       The parties have met and conferred. The government opposes any further discovery
extensions. Rather, the government seeks to cut off discovery mid-stride in an attempt to
preclude Claimants from gathering all evidence to establish their ownership of the Amadea.1

        The extension Claimants propose is warranted. The government produced over one
million pages of additional documents that were purportedly recently discovered on the Amadea
by one of its experts. Claimants have been reviewing these documents, but there are limits to any
party’s ability to review and analyze such a volume of documents, particularly to digest them for
potential use in depositions. Moreover, just this past week the government amended its
interrogatory responses to identify an additional ten witnesses that might have relevant
information that the government may use in this case, several of whom were previously
unknown to Claimants who we now need to investigate.

        More significantly, the parties have collectively noticed sixteen additional witnesses for
depositions, many of which have not yet been scheduled because of the logistical difficulties
involved in deposing foreign witnesses overseas. The parties have been working in good faith to
find a mutually suitable overseas location for each deposition to take place. Claimants have

1
  The government claims that its position to seek to cut off discovery prior to the parties having
had an opportunity to complete it is based on the amount of the maintenance costs it chose to
incur when it seized the Amadea without first conducting an investigation, and the optics of
those continuing costs.
       Case 1:23-cv-09304-DEH           Document 286        Filed 10/21/24      Page 2 of 3

Hon. Dale E. Ho, U.S.D.J.
Case No. 23-cv-9304 (DEH)
October 21, 2024
Page 2


agreed to several of the government’s proposals, have put off depositions that were scheduled so
that the government could obtain necessary permissions, and otherwise acted in good faith to
select dates and locations for critical witnesses.

        Even if all legal approvals for these overseas depositions were to be obtained this week, it
is unlikely that the parties could schedule even the most critical of these depositions to take place
in the next few weeks, given the far-flung locations being considered. Indeed, out of the 16
depositions anticipated, only a handful will take place in the United States, with several in
Europe and some even farther away. The current discovery schedule is as follows:

Depositions that are set in the calendar (4):

Witness 1 (noticed by government, in Miami/remote on 10/21)
Witness 2 (noticed by Claimants, in London on 10/23)
Witness 3 (government expert, in Washington DC on 11/7)
Witness 4 (government expert, in Washington DC on 11/8)

Depositions that the parties have noticed, but with no set date (12):

Eduard Khudainatov (noticed by government, current proposed location 22-hour flight from
NYC and 29-hour flight return)
Witness 5 (noticed by Claimants, current proposed location 22-hour flight from NYC and 29-
hour flight return)
Witness 6 (noticed by Claimants, current proposed location 22-hour flight from NYC and 29-
hour flight return)
Millemarin 30(b)(6) (noticed by government, proposed locations of London, Serbia, or UAE)
Witness 7 (noticed by government - Hague request received by France, but no date set)
Witness 8 (noticed by Claimants, NYC or Washington D.C.)
Witness 9 (Claimants’ expert, London)
Witness 10 (Claimants’ expert, London)
Witness 11 (Claimants’ expert, London)
Witness 12 (noticed by government, Miami/Remote)
Witness 13 (noticed by government, Switzerland)
Witness 14 (noticed by Claimants - Hague request outstanding, Germany)

         To be clear, the parties have been working exceedingly hard for the last month since our
last correspondence with the Court and since the Court’s last order. By way of limited example,
in just the past four weeks, the parties have taken a witness deposition in Glasgow, Scotland;
have deposed two witnesses in London, England; another deposition scheduled for today in
Miami; and another deposition is scheduled on Wednesday to take place back in London.

        In addition to the depositions already taken, Claimants’ counsel has been traveling
internationally extensively, preparing some of the witnesses that are set to be deposed during
       Case 1:23-cv-09304-DEH           Document 286         Filed 10/21/24     Page 3 of 3

Hon. Dale E. Ho, U.S.D.J.
Case No. 23-cv-9304 (DEH)
October 21, 2024
Page 3


discovery, all the while continuing to review the consistent stream of new documents from the
government, as well as responding to new government interrogatories, requests to admit, and
other matters of discovery. Just last month, our firm expended several hundred hours in attorney
and paralegal time pushing forward discovery in this case.

         As this Court is aware, this is a case involving an approximate $250 million asset that the
government chose to seize prior to conducting a sufficient investigation. Every witness that has
testified to date (including five noticed by the government) has affirmed that Claimants own the
vessel, and not a single witness has suggested that they have any knowledge of Kerimov
purchasing or ever owning the Amadea. Indeed, given how depositions have gone to date, the
government informed us that it no longer wishes to depose one of the Captains that the
government itself alleged in the Amended Complaint to have knowingly committed sanctions
evasion upon which the forfeiture claim is based, even though the Captain agreed to sit for a
deposition voluntarily (following service of a Hague Convention request from both sides).

       It is not uncommon for discovery in a litigation of this size, with witnesses and
documents located in far-reaching places, to span years. Simple logistics precludes the parties
from completing discovery just seven months after discovery started in earnest, and while the
government is still producing millions of pages and identifying new witnesses as of last week.

        For the reasons set forth above and in our original motion for an extension of discovery,
Claimants respectfully request that the Court extend discovery until January 24, 2025. Claimants
have established their diligence in conducting discovery, and the compelling circumstances
warranting such an extension, and the denial of such an extension before the parties are able to
complete the necessary discovery, would be highly prejudicial to Claimants, and to the overall
fact-finding that this case requires. We request this extension be granted without prejudice for
additional extensions, if necessary (and upon a showing of continued diligence and progress),
particularly as the government is still producing voluminous records to Claimants and noticing
additional witnesses.

       We appreciate the Court’s attention to this matter.

                                                              Respectfully Submitted,

                                                              /s/ Adam C. Ford
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